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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3044
                                        )
            v.                          )
                                        )
                                        )      MEMORANDUM AND ORDER
BELINDA ROGERS,                         )
                                        )
                   Defendant.           )



      Defendant Belinda Rogers has filed a motion for pretrial release, (filing no.
71), which requests an order permitting her to reside at her sister’s residence in
Lincoln, Nebraska, and to attend an intensive outpatient treatment program at
Lutheran Family Services in Lincoln, Nebraska.

      IT IS ORDERED that pretrial services shall investigate the defendant’s release
proposal and provide the court, counsel for the government, and counsel for
defendant Rogers with a report of its findings.

      DATED this 30th day of June, 2009.

                                       BY THE COURT:

                                       s/Richard G. Kopf
                                       United States District Judge
